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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )               CASE NO. 8:11CR43
                                              )
                        Plaintiff,
                                              )
                vs.                           )                 TRIAL ORDER
                                              )
JUANITA HERRERA,                              )
                                              )
                        Defendant.


        IT IS ORDERED:



        Trial in this matter is scheduled to begin on Tuesday, October 4, 2011,
commencing at 9:00 a.m., before District Judge Laurie Smith Camp, in Courtroom No. 2,
Third Floor, Roman L. Hruska Courthouse, 111 S. 18th Plaza, Omaha, Nebraska. It is
anticipated that this trial will last approximately four days.    A Pretrial Conference,
beginning at 8:30 a.m., will be held in Judge Smith Camp’s Chambers on that same day,
prior to the start of trial.


        DATED this 29th day of September, 2011.



                                                  BY THE COURT:
                                                  s/Laurie Smith Camp
                                                  United States District Judge
